                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           No. 3:10-00065
                                                 )           JUDGE CAMPBELL
QUINCY MAURICE FUQUA                             )
VICTOR L. OWENS                                  )

                                             ORDER

       The Court held a Pretrial Conference in this case on November 28, 2012. At the

Conference, Defendant Fuqua withdrew his Motion To Suppress Statement (Docket No. 189)

based on an agreement of the parties as set forth on the record.

       The Court also considered Defendant Owens’ Motion In Limine (Docket No. 205) and

Supplemental Motion In Limine (Docket No. 208). Request Nos. 1 through 3 of the Motion In

Limine were determined to be moot in light of the Government’s representation that it does not

intend to offer the evidence at trial. Request No. 4 was resolved by agreement of the parties.

Request No. 5 was denied by the Court based on the discharge allegation in Count Four. The

Defendant may raise a contemporaneous objection to the evidence at trial, if necessary. Request

No. 6 in the Supplement Motion In Limine was resolved based on the Government’s stated

intentions as to the expert proof to be offered, and the Court’s draft jury charge on opinion

witnesses.




 Case 3:10-cr-00065         Document 216        Filed 11/28/12      Page 1 of 2 PageID #: 708
       The Motions To Sever (Docket Nos. 204, 210) are taken under advisement pending a

further filing by the Government as ordered by the Court.

       It is so ORDERED.



                                                    _________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




 Case 3:10-cr-00065        Document 216       Filed 11/28/12   Page 2 of 2 PageID #: 709
